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 5 Attorney for Defendant
   JUAN ANGEL LOPEZ
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 8                            IN THE UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                         CASE NO. 1:14-CR-148-LJO
11                              Plaintiff,             STIPULATION TO CONTINUE
                                                       SENTENCING
12   v.
13   JUAN ANGEL LOPEZ,
14                              Defendant.
15

16         Defendant, JUAN ANGEL LOPEZ, by and through his counsel of record,
17 NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and

18 through its counsel of record, BRIAN DELANEY, Assistant United States Attorney for the

19 Eastern District of California, hereby stipulate that the sentencing in the above-referenced
20 case currently scheduled for Monday, February 23, 2015, at 8:30 a.m. be continued to

21 Monday, April 13, 2015 at 8:30 a.m. in the courtroom for the Honorable Lawrence J.

22 O’Neill, District Judge.

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           Case 1:14-cr-00148-JLT-SKO Document 55 Filed 02/18/15 Page 2 of 2


           This stipulation is based on good cause since all parties are still awaiting drug analysis
 1
     from DEA and require time to resolve sentencing issues. The delay in the final drug analysis
 2
     is due to a year end move by the DEA to a new laboratory which resulted in a considerable
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     delay in their processing the drug submissions
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 6 IT IS SO STIPULATED
                                                       Respectfully submitted,
 7
     Dated: 02-18-15                                   /s/ Nicholas F. Reyes
 8                                                     NICHOLAS F. REYES
                                                       Attorney for Defendant
 9
     IT IS SO STIPULATED
10

11
     Dated: 02-18-15                                   /s/ Brian Delaney
12                                                     BRIAN DELANEY
                                                       Assistant U.S. Attorney
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     IT IS SO ORDERED.
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16      Dated:   February 18, 2015                       /s/ Lawrence J. O’Neill
                                                   UNITED STATES DISTRICT JUDGE
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